8:08-cr-00318-RFR-MDN            Doc # 170       Filed: 04/08/09      Page 1 of 5 - Page ID # 590


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:08CR318-004

                                                        USM Number 22558-047

SHAWNTEL SCAIFE
                        Defendant
                                                        JERRY M. HUG

                                                        Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                      (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Information on January 16, 2009.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offense:

                                                             Date Offense                Count
          Title, Section & Nature of Offense                  Concluded                 Number


 18:4 - MISPRISION OF A FELONY                           August 18, 2008                  1s

The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count I and XV of the Superseding Indictment are dismissed on the motion of the United States.

Following the imposition of sentence, the Court advised the Defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                        April 6, 2009

                                                                           s/Laurie Smith Camp
                                                                           United States District Judge

                                                                                  April 8, 2009
8:08-cr-00318-RFR-MDN             Doc # 170       Filed: 04/08/09      Page 2 of 5 - Page ID # 591


Defendant: SHAWNTEL SCAIFE                                                                      Page 2 of 5
Case Number: 8:00CR318-04


                                            PROBATION

The Defendant is hereby sentenced to probation for a term of 5 Years.

The Defendant shall not commit another federal, state, or local crime.

The Defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The Defendant shall refrain from any unlawful use of a controlled substance. The Defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the Defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

       The Defendant shall comply with the standard conditions that have been adopted by this
Court (set forth below). The Defendant shall also comply with any additional conditions.

                         STANDARD CONDITIONS OF SUPERVISION

1.      the Defendant shall not leave the judicial district without the permission of the Court or
        probation officer;
2.      the Defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the Defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the Defendant shall support his or her dependents and meet other family responsibilities;
5.      the Defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the Defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the Defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      the Defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the Defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the Defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the Defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the Court;


13.     as directed by the probation officer, the Defendant shall notify third parties of risks that may
8:08-cr-00318-RFR-MDN              Doc # 170         Filed: 04/08/09        Page 3 of 5 - Page ID # 592


Defendant: SHAWNTEL SCAIFE                                                                             Page 3 of 5
Case Number: 8:00CR318-04


        be occasioned by the Defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the Defendant’s
        compliance with such notification requirement.

                             SPECIAL CONDITIONS OF SUPERVISION


1.      The Defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      The Defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
        a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the Defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

3.      Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
        Officer.

4.      The Defendant shall provide the United States Probation officer with access to any requested financial
        information.

5.      Pursuant to 18 U.S.C. 3563(a)(5), the defendant shall submit to a drug test within 15 days of release
        on probation and at least two periodic drug tests thereafter to determine whether the defendant is
        using a controlled substance. Further, the defendant shall submit to such testing as requested by any
        probation officer to detect the presence of alcohol or controlled substances in the defendant’s body
        fluids and to determine whether the defendant has used any of those substances. Based on the
        defendant’s ability to pay, the defendant shall pay for the collection of urine samples to be tested for
        the presence of alcohol and/or controlled substances in an amount determined by the probation
        officer.

6.      The Defendant shall report to the United States Probation office for the District of Nebraska between
        the hours of 8:00am and 4:30pm, 111 South 18th Plaza, Suite C79, Omaha Nebraska, (402) 661-
        7555, within seventy-two (72) hours of being placed on probation and, thereafter, as directed by the
        probation officer.
8:08-cr-00318-RFR-MDN           Doc # 170     Filed: 04/08/09     Page 4 of 5 - Page ID # 593


Defendant: SHAWNTEL SCAIFE                                                               Page 4 of 5
Case Number: 8:00CR318-04


                             CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                     Total Fine                 Total Restitution
            $100.00
The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that:

        interest requirement is waived.



                                              FINE

        No fine imposed.

                                          RESTITUTION

        No restitution was ordered.
8:08-cr-00318-RFR-MDN               Doc # 170        Filed: 04/08/09   Page 5 of 5 - Page ID # 594


Defendant: SHAWNTEL SCAIFE                                                                    Page 5 of 5
Case Number: 8:00CR318-04


                                     SCHEDULE OF PAYMENTS
The Defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The Defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the Defendant shall pay 50% of the available inmate institutional funds per quarter towards the
criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the Defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the Defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the Defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the Defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the Court.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.
CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
